         Case 1:11-cr-00578-JRR          Document 175         Filed 01/27/15      Page 1 of 3



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

AARON TEKEO PRATT                                   :
                                                    :
         v.                                         : CIVIL NO. CCB-14-316
                                                    : Criminal No. CCB-11-0578
UNITED STATES OF AMERICA                            :
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                                         MEMORANDUM

         Federal prison inmate Aaron Tekeo Pratt filed a timely motion to vacate under 28 U.S.C.

§ 2255 alleging ineffective assistance of appointed counsel, an Assistant Federal Public Defender

(“AFPD”). The motion, which has been fully briefed, will be denied for the reasons stated

below.

         Pratt was indicted together with Deontaye Harvey and Reginald Dargan on various

charges arising from the armed robbery of a jewelry store in Columbia, Maryland. Specifically,

Pratt was charged with conspiracy (Counts One and Two); Hobbs Act robbery, 18 U.S.C. §

1951(a) (Count Five); and brandishing a firearm in furtherance of a crime of violence, 18 U.S.C.

924(c) (Count Six). On April 19, 2012, he entered a guilty plea to Count Five, and on August

22, 2012, he was sentenced to 87 months in the custody of the Bureau of Prisons. All other

counts were dismissed. Pratt’s direct appeal was dismissed voluntarily, and this motion

followed.

         As Pratt’s claim of ineffective assistance relates to the calculation of his advisory

guideline range, that issue will now be reviewed. At his Rule 11 proceeding, Pratt admitted

under oath to a statement of facts that included his knowing participation in the robbery,

including brandishing a firearm at employees, instructing them to be still, and then threatening to

“blow a hole” in one employee who began to move toward the silent alarm. (ECF No. 171,



                                                   1
        Case 1:11-cr-00578-JRR                Document 175           Filed 01/27/15         Page 2 of 3



Gov’t Opp. Ex. 2, Tr. 4/19/12 at 12-13). As discussed during the Rule 11 proceeding, based on

the factual stipulation, the parties agreed to a base offense level of 20, increased by 6 because a

firearm was used, increased between 1 and 3 levels depending on the amount of loss, and

increased by another 3 levels because of other dismissed conduct relating to the offense. (Id. at

14-15). Pratt, who read and understood the agreement, had no questions at the conclusion of the

rearraignment. (Id. at 10-11, 20). As more fully explained at the sentencing hearing, these

enhancements under U.S.S.G. § 2B3.1(b)(2)(B) and U.S.S.G. § 5K2.21 were agreed to in

exchange for dismissal of the 18 U.S.C. § 924(c) count, which would have required a mandatory

consecutive 84-month sentence on Count Six and would have resulted in a higher guideline

range. (Gov’t Opp. Ex. 3, Tr. 8/22/12 at 3-4). After agreeing with the government that the

amount of the loss was greater than $250,000, (id. at 14-15), the court agreed with defense

counsel that the Criminal History category II in the presentence report should be recalculated to

category I, (id. at 18-20). The final advisory guideline range was 87-108 months, and Pratt was

sentenced to 87 months.1

        Pratt apparently claims his counsel was ineffective for agreeing to both guideline

enhancements. The record reflects that the AFPD negotiated with the government for a

somewhat more favorable plea, but was not able to obtain that agreement. (Id., Ex. 4, email).

Nonetheless she avoided the necessity of her client pleading to the mandatory consecutive seven-

year count. The agreement was thoroughly explained to Pratt, and he admitted to the underlying

conduct that resulted in the enhancements. Further, because there is no dispute of fact on the

record requiring a credibility determination, there is no need for an affidavit from the AFPD or

an evidentiary hearing as Pratt requests in his reply.


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 Of course, the advisory guideline range was only one of the factors this court considered in determining the 87
months was sufficient but not greater than necessary. See 18 U.S.C. § 3553.

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       Case 1:11-cr-00578-JRR          Document 175         Filed 01/27/15    Page 3 of 3



       Neither deficient performance nor prejudice has been shown by Pratt. See Strickland v.

Washington, 466 U.S. 668, 687 (1984). Accordingly, the motion to vacate under 28 U.S.C. §

2255 will be denied. A certificate of appealability will not issue.

       A separate Order follows.



January 27, 2015                                                     /S/
Date                                                  Catherine C. Blake
                                                      United States District Judge




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